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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


SAS INSTITUTE INC.,

               Plaintiff,                          Civil Action No. 2:18-cv-295

       vs.
                                                   Jury Trial Demanded
WORLD PROGRAMMING LIMITED,
LUMINEX SOFTWARE, INC., YUM!
BRANDS, INC., PIZZA HUT, INC., and
SHAW INDUSTRIES GROUP, INC.,

               Defendants.



                                   AMENDED COMPLAINT

       Plaintiff SAS Institute Inc. (“SAS”) makes the following allegations against Defendants

World Programming Limited (“WPL”), Luminex Software, Inc. (“Luminex”), Yum! Brands, Inc.

(“Yum”), Pizza Hut, Inc. (“Pizza Hut”), and Shaw Industries Group, Inc. (“Shaw”), (collectively

“Defendants”). SAS alleges that all Defendants are liable to SAS for copyright infringement of

the SAS System and SAS Manuals, described below. SAS alleges that WPL and Luminex are

liable to SAS for contributory and vicarious copyright infringement of the SAS System and SAS

Manuals. SAS alleges that Defendants WPL, Yum, and Pizza Hut are liable for infringement of

U.S. Patent Nos. 7,170,519 (“the ’519 Patent”), 7,447,686 (“the ’686 Patent”), 8,498,996

(“the ’996 Patent”), and 6,920,458 (“the ‘458 Patent”) (collectively, the “Patents-in-Suit”).


                              THE NATURE OF THE ACTION

       1.      This is an action for (a) copyright infringement arising out of Defendants’ willful

infringement of various copyrighted SAS materials, and (b) the willful infringement of SAS’s

Patents-in-Suit by WPL, Yum, and Pizza Hut.

       2.      Starting as early as 2003, WPL commenced a plan to create a clone of SAS’s
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industry-leading business analytics software, including without limitation SAS’s SAS System,

Release 8.2, and SAS Learning Edition versions 1.0, 2.0, and 4.1 (collectively, including all other

releases of SAS’s business analytics software, the “SAS System”). Through a series of illegal

activities, including fraud and unfair and deceptive trade practices, WPL copied the design output

and structure, sequence, and organization (“SSO”) of the SAS System as well as substantial other

non-literal creative input and output elements of the SAS System. WPL also wrongfully copied

the manuals that SAS created for the SAS System (the “SAS Manuals”) by taking portions of the

SAS Manuals showing specific creative aspects of the SAS System and incorporating them in

WPL’s clone of the SAS System.

       3.      From the beginning of its development, the entire purpose of WPL’s World

Programming System (“WPS”) software was to be a clone of the SAS System. The primary

customer market for the WPS software is current and former SAS customers. In WPS, WPL

intended to develop, and ultimately has developed, through making copies and derivative works

of the SAS System and SAS Manuals, a clone of the proprietary SAS software, which WPL

markets to SAS customers for less than the cost of a SAS license.

       4.      To develop WPS, WPL engaged in a series of illegal activities and illicit behaviors

to procure the information it needed to create the cloned software. Among other things, through

fraudulent actions, WPL improperly acquired SAS Learning Edition software not otherwise

available to it and used that software in ways that violated and were outside the scope of the license

agreement that WPL knowingly executed after obtaining the improper copy of SAS Learning

Edition. Also, WPL attempted to fraudulently obtain a copy of and a license to the full version of

the SAS System, including by lying to SAS representatives with regard to the purpose of WPL’s

intended use of the SAS software. SAS refused to provide a copy.

       5.      When WPL was rebuffed from obtaining the full version of SAS’s software, WPL

then wrongfully convinced a SAS customer to let WPL use the customer’s licensed version of the

SAS software so that WPL could further develop WPS as a clone of SAS’s software.




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       6.      In addition to infringing SAS’s copyrights relating to the SAS System and Manuals,

WPS incorporates technology covered by SAS’s Patents-in-Suit.

                                            PARTIES

       7.      Plaintiff SAS is a corporation organized under the laws of the State of North

Carolina with its principal place of business at 100 SAS Campus Drive, Cary, North Carolina

27513. SAS has been in business for over 40 years. SAS software is used by most of the Fortune

500 companies. SAS is considered the world leader in business intelligence software and service,

which SAS offers primarily through an integrated range of software products in the SAS System.

       8.      On information and belief, Defendant WPL is a private limited company

incorporated under the laws of England and Wales with its registered office address listed as

Worsley Lodge, Common Hill, Braishfield, Romsey SO51 0QF. On information and belief, WPL

was incorporated in 1998 under the name Management Technologies Limited and thereafter

changed its name on at least two occasions, adopting its current name in 2006.

       9.      On information and belief, Defendant Luminex is a corporation organized under

the laws of California with its principal place of business at 871 Marlborough Ave., Suite 100,

Riverside, California. On information and belief, Luminex regularly provides, sells or offers to

sell infringing WPS software to customers in the State of Texas and this judicial district.

       10.     On information and belief, Defendant Yum is a corporation organized under the

laws of the State of North Carolina, with its principal place of business at 1441 Gardiner Lane,

Louisville, Kentucky 40213. On information and belief, Yum maintains a corporate office within

this judicial district at 7100 Corporate Drive, Plano, Texas 75024.

       11.     On information and belief, Defendant Pizza Hut is a corporation organized under

the laws of the State of Delaware, with its principal place of business within this judicial district

at 7100 Corporate Drive, Plano, Texas 75024.

       12.     On information and belief, Defendant Shaw is a corporation organized under the

laws of the State of Georgia, with its principal place of business at 616 East Walnut Avenue,

Dalton, GA 30721. On information and belief, Shaw regularly transacts business in the State of


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Texas and this judicial district and generally has minimum contacts in the State of Texas

                            JURISDICTION, VENUE, AND JOINDER

        13.       This is an action for copyright infringement and patent infringement arising under

the Copyright Laws of the United States, Title 17 of the United States Code and the Patent Laws

of the United States, Title 35 of the United States Code. This Court has subject matter jurisdiction

pursuant to at least 28 U.S.C. §§ 1331 and 1338.

        14.       This Court has personal jurisdiction over Defendants because they have at least

minimum contacts within the State of Texas; they have purposefully availed themselves of the

privileges of conducting business in the State of Texas; they regularly conduct business within the

State of Texas; and SAS’s causes of action arise directly from their business and other activities

in the State of Texas, including at least by virtue of their copying, making, using, selling, offering

for sale, or importing of WPL’s WPS software in the State of Texas. Further, this Court has general

jurisdiction over Defendants, including due to their continuous and systematic contacts with the

State of Texas.

        15.       Venue is proper in this district in relation to Defendant WPL under 28 U.S.C. §

1391 because it is a foreign corporation not resident in the United States.

        16.       Venue is proper in this district in relation to Defendant Luminex under 28 U.S.C. §

1400(a) because it is subject to personal jurisdiction in this district and can be found in this district.

        17.       Venue is proper in this district in relation to Defendant Yum under 28 U.S.C. §

1400(a) because it is subject to personal jurisdiction in this district and can be found in this district.

Further, venue is proper in this district as to Yum under 28 U.S.C. § 1400(b) because, on

information and belief, it has a regular and established place of business in this district and has

committed acts of infringement within this district.

        18.       Venue is proper in this district in relation to Defendant Pizza Hut under 28 U.S.C.

§ 1400(a) because it is subject to personal jurisdiction in this district and can be found in this

district. Further, venue is proper in this district as to Pizza Hut under 28 U.S.C. § 1400(b) because,

on information and belief, it has a regular and established place of business in this district and has


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committed acts of infringement within this district.

        19.     Venue is proper in this district in relation to Defendant Shaw under 28 U.S.C. §

1400(a) because it is subject to personal jurisdiction in this district and can be found in this district.

        20.     Joinder of the Defendants is proper under 35 U.S.C. § 299 as the patent

infringement allegations arise out of the same transaction, occurrence, or series of transactions or

occurrences relating to the making, using, importing into the United States, offering for sale, or

selling of the same accused product or process, namely WPL’s WPS software. Questions of fact

common to all Defendants will arise in this action. Discovery in this action may lead to the need

to add additional defendants subject to the same claims and common questions of fact.

                                   SAS AND THE SAS SYSTEM

        21.     SAS has been in business for over 40 years. SAS is a world leader in business

intelligence software and services primarily offered through an integrated range of software

products known as the “SAS System.” The SAS System enables users to perform a variety of

tasks related to data access, data management, data analysis (including statistical analysis), and

data presentation.

        22.     The SAS System reflects numerous creative decisions and millions of hours of

difficult development and programming work on the part of thousands of SAS employees over

several decades. The SAS System represents an extraordinary achievement in the field of data

management and analysis software, and constitutes extremely valuable intellectual property.

        23.     The SAS System is the result of thousands of creative choices. The structure,

sequence, and operation (“SSO”) of the SAS System is by no means mandated by any particular

idea or function. SAS could have put together the SSO of the SAS System in many different ways.

The SSO of the SAS System encompasses the creative expression and creative choices made by

SAS.

        24.     In addition, the taxonomy of the SAS System, including without limitation the

headers, commands, and inputs, are the result of many creative choices representing SAS creative

expression. This taxonomy (along with the SAS System SSO) is partially reflected in the SAS


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System through creatively designed programs called “PROCs,” each of which encompasses

numerous creative choices by SAS. The naming and taxonomy as well as the SSO and output

design of the programming making up a PROC represents the expression of the PROC program

written by SAS within the SAS System. There is no requirement that the various PROCs are

written or structured exactly the way they are to express the idea or function of the program. Nor

is the naming system of PROCs mandated in any way by any idea or function. The PROC names

as well as the lines of programming, SSO and output of the PROCs (collectively, the “PROC

statements”) are all creative choices made by SAS, and the collection of PROC names also

represents a substantial creative and copyrightable work as well as a copyrightable compilation.

       25.     The outputs and output design of the SAS System also are a result of many creative

choices by SAS. The visuals, colors, layout, arrangement, organization, and structure that make

up the SAS System outputs are not inevitable results of the ideas and/or functions in the SAS

System; rather, they are creative expression, the result of creative choices of visuals, colors, and

structure, as well as the types of data that will be presented to the user of the SAS System and in

what order they will be presented. Numerous programs on the market handle data access, data

management, data analysis, and data presentation, and the outputs of those programs all look

different from one another. SAS made creative choices in deciding how its outputs should be

expressed.

       26.     The user of the SAS System works with and enters his or her programs into the

SAS System by use of the SAS System’s graphical user interfaces. The appearance of the SAS

System’s graphical user interfaces is the result of significant creative choices made by SAS.

       27.     SAS creates many manuals to help its customers navigate the SAS System. In order

to best train its customers on use of the SAS System, the SAS Manuals describe portions of and

show specific creative expression of the SAS System in detail, including discussion and examples

of PROCs, and pictures of the output design that will be generated from the various PROCs. The

SAS Manuals provide a window into how the SAS System source code is designed as well as

showing large portions of the taxonomy, inputs, commands, PROCs, PROC statements, SSO and


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output design of the SAS System.

       28.     In order to protect the value of its intellectual property incorporated into the SAS

System, SAS takes a number of steps to prevent other companies and individuals from improperly

developing software designed to copy and/or emulate the SAS System. Examples of such steps

include, but are not limited to: (1) registering versions of its manuals and its software licensed to

the public with the United States Copyright Office, (2) maintaining portions of its source code as

a proprietary trade secret, (3) guarding against licensing its software to companies or individuals

that might misuse it (such as attempting to create a copy-cat product emulating the SAS System

or other components of the SAS software), (4) licensing its software in a manner which restricts

who may access the software and imposing limitations on the types of permitted use of the

software, and (5) filing for and obtaining patent protection covering inventions developed by SAS.

       29.     The Patents-in-Suit arose from the efforts and inventiveness of SAS employees

developing and adding to the feature-set of the SAS System. In addition to the Patents-in-Suit,

SAS has developed and owns hundreds of other patents relating to the SAS System, including U.S.

Patent Nos. 6,526,408, 7,015,911, 7,068,267, 7,340,440, 7,921,359, 7,979,858, 8,271,537,

8,682,876, and 8,694,525.

       30.     Users of the SAS System access, manage, and analyze data to present or provide

results by issuing instructions to the SAS System. Those instructions typically take the form of

text files containing instructions and are generally referred to as “SAS Programs” or “SAS

Scripts.” SAS Programs are written in a programming language developed and maintained by

SAS known as the SAS Language. These SAS Programs may, and often do, become integral to a

customer’s organization.

       31.     The SAS Language is very flexible. Over the years, SAS’s customers have written,

or had written on their behalf, thousands of application programs in the SAS Language. These can

range from fairly short and simple programs to large and complex programs that involve many

man-years to create. SAS customers write programs using the PROC statements created by SAS

and made part of the SAS System. It is not the other way around, where the customer writes a


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program and then SAS or the SAS System has to create PROC statements (in a specific way or

otherwise) to then make that program work.

       32.     SAS has invested tremendous financial resources and man-hours into ensuring that

when its customers’ SAS Language Programs are put into the SAS System, they will be presented

with a very creative and specific structure and output design that was chosen by SAS from among

many possible SSOs and output designs, and is unique to the SAS System.              SAS creates

documentation, employs technical support staff, and provides training sessions and materials for

SAS customers using the SAS System.

                          WPL and the World Programming System

       33.     SAS faces a number of well-known and established competitors in the market for

business intelligence software that compete with SAS by offering their own software. These

competitors, unlike WPL, have created their own systems, as opposed to simply copying the

system and creative expression of SAS.

       34.     Beginning in or about 2003, WPL sought to illegally circumvent SAS’s intellectual

property protection of the SAS System. WPL endeavored to create a clone of SAS software, which

not only would be able to execute application programs written in the SAS Language, but also

would use the exact same taxonomy, user interface, inputs, commands, compilation of PROC

statements, and SSO that were creatively chosen by SAS, and produce the same output in the same

format and with the same design creatively chosen by SAS as a result. In other words, WPL sought

not only to replicate the SAS System’s functionality, but also to copy the creative elements of the

SAS System so that the look, design, and SSO would be the same as the SAS System. WPL

therefore developed the WPS software in order to attract SAS’s existing licensees by making them

believe that they would essentially be getting the exact same product as the SAS System. SAS’s

customers comprise the vast majority of WPL’s market. WPL’s current or former customers for

WPS identified in non-confidential materials and public sources include AXA, BCBSNEPA (Blue

Cross Blue Shield Northeastern Pennsylvania), Texas Instruments Inc., BCBST (Blue Cross Blue

Shield Tennessee), Electronic Data Systems (EDS), Experian PLC, Fidelity, First Data, Franklin


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Templeton Companies Inc., Highmark, Huntington National Bank, IMS Health Inc. (Quintiles),

KeyBank, Limited Brands, Lender Processing Services (Fidelity National Financial / Black Knight

InfoServ), Mastercard, Oracle, Sabre Holdings, T. Rowe Price, and Toyota.

        35.      WPL intended WPS to be a drop-in replacement clone of the SAS System. In prior

litigation between SAS and WPL, WPL admitted that (with limited exceptions) “the response of

WPS to SAS scripts and data is intended to be identical to the response of the SAS components

and is in fact identical.”

        36.     In marketing WPS, WPL touts its ability “to emulate the behavior of the SAS

System Implementation for many applications” by “identically replicating the behavior of the SAS

System.” In fact, WPL designed its system to emulate even the idiosyncrasies of the SAS System,

down to thousands of SAS’s creative choices regarding taxonomy, user interface, inputs,

commands, PROC statements, SSO, and output designs.

        37.     In order to create the copycat of the SAS System that WPS embodies, WPL engaged

in numerous nefarious acts discussed in more detail below.

                             The SAS/WPL North Carolina Litigation

        38.     On January 19, 2010, SAS filed suit against WPL in the United States District Court

for the Eastern District of North Carolina alleging (1) copyright infringement, (2) breach of license

agreement (alternatively, (3) tortious interference with contract), (4) tortious interference with

prospective economic advantage, and (5) unfair and deceptive trade practices/unfair competition

(the “North Carolina Litigation”). Based on discovery obtained during the North Carolina

Litigation, the court allowed SAS to amend its Complaint to allege that WPL obtained licenses to

use certain SAS software by fraud.

        39.     The causes of action in the North Carolina Litigation all stem from WPL’s efforts

to design the WPS as a clone of the SAS System. At virtually every step in WPL’s development

efforts, WPL copied the SAS System, breached its license agreement for SAS software, and relied

on and/or induced other SAS licensees to breach their license agreements with SAS.

        40.     Discovery in prior litigation revealed that WPL’s first stage of development was to


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 review and copy from the SAS Manuals obtained from SAS’s website. The SAS Manuals give an

 extensive window into the creative expression of the SAS System because they describe portions

 of and show specific creative expression of the SAS System in detail, including discussion and

 examples of PROCs, and pictures of the output design that will be generated from the various

 PROCs. The manuals, however, often did not fully provide the detail necessary for WPL to

 completely replicate either the functionality or all the creative choices of the SAS System. Thus,

 WPL also used the software known as SAS Learning Edition (which was a limited and restricted

 version of the SAS System designed to allow students and potential users to learn to use the SAS

 System) to develop WPS.

        41.     Throughout the years of development, WPL obtained at least twelve copies of the

 SAS Learning Edition. When installing the SAS Learning Edition, WPL was presented with the

 SAS Learning Edition license agreement and was required to agree to its terms as a condition to

 installation. Those terms prohibited (among other things) the user from (1) using the program for

 production purposes, and (2) reverse assembling, reverse engineering, decompiling, or otherwise

 attempting to recreate SAS’s source code. WPL intentionally and repeatedly violated these terms

 by using the SAS Learning Edition to design and develop its competing product, WPS. WPL also

 repeatedly attempted to obtain licenses to the full version of the SAS System by attempting to

 mislead SAS as to why they were seeking a license; WPL was rebuffed on each attempt.

        42.     Having failed to obtain a license to the SAS System directly through SAS, WPL

 improperly gained access to the full version of the SAS System by wrongfully using SAS software

 licensed by at least one of SAS’s customers.

        43.     WPL improperly gained access to the full version of the SAS System another way.

 In or about 2003, WPL was contacted by a company called CA Technologies (“CA”). CA offered

 a software product called MICS that ran on the SAS System. MICS is a large, complicated program

 that is run on a mainframe computer.

        44.     Upon information and belief, CA was interested in WPS as a less expensive

 alternative to the SAS System for providing MICS to its customers at a lower cost. CA worked


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 with WPL over the next several years to create a version of WPS that could run MICS. CA and

 WPL called this secret effort “Project X.”

        45.     As WPL contractor Steve Bagshaw testified, CA gave WPL access to the SAS

 System on CA’s mainframe in an attempt to speed up the process. Later, in May of 2008, WPL

 again requested, and CA granted, access to CA’s SAS System.

        46.     CA’s license agreement with SAS, however, provided that CA would not “provide

 or otherwise make available any licensed IPP [SAS Institute Program Products] in any form to any

 person other than [CA’s] personnel.”

        47.     In addition to work on Project X, WPL also did work for other of its customers on

 CA’s mainframe. In one instance, one of WPL’s customers, SDDK, reported an issue regarding

 certain missing information in WPS. WPL then used the CA system to test the output of both SAS

 and WPS, and reported the results.

        48.     WPL’s intent, evidenced at least by the WPS program itself and WPL’s various

 statements and actions, was to make sure to copy significant non-literal elements of the SAS

 System, duplicating thousands of SAS creative choices and resulting in the same taxonomy, user

 interface, inputs, commands, SSO, and output designs.

        49.     These and other actions by WPL were introduced into evidence in prior litigation

 between the parties. Ultimately, following a jury trial, SAS prevailed on its breach of contract,

 fraud, and unfair and deceptive trade practices claims resulting in a judgment totaling over $79

 million.

        50.     The District Court in the North Carolina Litigation found that the evidence showed

 that “[WPL] used underhanded and fraudulent methods to acquire Learning Edition licenses” and

 that “[WPL] used the Learning Edition software to create a virtual clone of the SAS System.”

 Memorandum Opinion and Order, Case No. 5:10-cv-00025, ECF 599, at 11, 26.

        51.     The judgments in favor of SAS in the North Carolina Litigation were affirmed by

 the United States Court of Appeals for the Fourth Circuit.

        52.     A District Court decision on SAS’s copyright infringement claim was completely


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 vacated by the United States Court of Appeals for the Fourth Circuit. On remand, the District

 Court dismissed the copyright infringement claim without prejudice. Thus, for purposes of the

 law, SAS’s copyright claims in that case are treated as if they never happened and no ruling on its

 merits was ever made.

                            WPL’S CUSTOMERS AND RESELLERS

         53.    WPL’s target market for the WPS software consists primarily of SAS customers.

         54.    The main benefit of WPS touted by WPL is that customers of SAS can use their

 existing SAS Programs and SAS datasets with the WPS software to obtain the same results that

 the SAS System would produce, including all of the SAS creative choices, such as use of the same

 taxonomy, user interface, inputs, commands, SSO, and output designs and formats, all for a lower

 license fee.

         55.    When customers license and use WPS, they make copies and derivative works of

 the infringing WPS software, and therefore wrongfully copy the SAS System (and the SAS

 Manuals, which have been incorporated into WPS), in numerous ways, including without

 limitation by copying the SAS System when it is installed on their computers, when it is loaded

 into memory as it is being run, and when it is generating logs and outputs.

         56.    WPL also provides its knock-off SAS System clone to other companies such as

 Luminex (collectively, “Re-Sellers”), who provide, sell, or offer to sell copies of the infringing

 system, and therefore wrongful copies and derivative works of the SAS System and the SAS

 Manuals, to current, former, and potential customers of SAS in competition with SAS.

         57.    On information and belief, WPL customers and Re-Sellers are aware WPS is

 intended as a SAS clone.

         58.    On information and belief, certain WPL customers and/or Re-Sellers are aware of

 WPL’s prior litigation with SAS and further are aware of the legal risks of utilizing and copying

 the WPS software.

         59.    On information and belief, in response to customer and/or Re-Seller demand, WPL

 indemnifies its customers and Re-Sellers against infringement of intellectual property claims.


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        60.     Customers of WPL and Re-Sellers of products incorporating WPL’s knock-off

 system knew or should have known that the SAS System and the SAS Manuals were proprietary

 and covered by a plethora of intellectual property rights.

        61.     The customers that have licensed WPS (such as Defendants Yum, Pizza Hut, and

 Shaw) either ignored these intellectual property rights, or determined that their violation was worth

 the risk in light of the touted cost savings from switching to the cloned WPS software.

        62.     The Re-Sellers also ignored these intellectual property rights, or determined that

 their violation was worth the risk in light of the touted cost savings and profits from selling the

 cloned WPS software.


              DEFENDANTS’ INFRINGEMENT OF THE COPYRIGHTS IN THE
                      SAS SYSTEM AND THE SAS MANUALS
        63.     The SAS System, in its various releases and iterations with updates, and including

 the SAS Learning Edition and the SAS Manuals, are subject to well over 100 Copyright

 Registrations, each duly registered with the United States Copyright Office.

        64.     The code making up the SAS System is subject to copyright protection under

 United States law.

        65.     In addition, many elements of the SAS System, separate from the source code, and

 often referred to under the law as the non-literal elements of the program, are also subject to
 copyright protection under United States law.

        66.     Non-literal elements of the SAS System protected under copyright law include

 without limitation the SAS System’s taxonomy, user interface, inputs, commands, PROC

 statements and compilation of PROC statements, SSO, and output designs. The taxonomy itself

 includes without limitation the overall system of organized names of without limitation Global

 statements, formats, informats, Data Step statements, Data Step functions, CALL routines, Data

 Set Options, PROCs, Library Engines and packages that are part of the SAS System.

        67.     SAS has a vast range of options for the taxonomy, user interface, inputs, commands,



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 PROC statements, SSO, and output designs of the SAS System. The ideas that are expressed in

 the SAS System could have been expressed in more than one way, and in fact, they could have

 been expressed in many alternate ways from the choices that SAS made in creating the SAS

 System.

        68.    The non-literal elements SAS created and made part of the SAS System were not

 required so that users could write or use programs in the SAS Language, but instead were the

 product of creative choices by SAS. For example, PROC statements and the programs that the

 PROC statements call up are not chosen by users or part of a pre-existing language: instead, they

 are creatively chosen by SAS and then communicated to users of the SAS System or those

 programming in the SAS Language.

        69.    In fact, PROC statements and the SAS System programs with which they are

 associated are updated and changed over time as a result of additional creative choices made by

 SAS.

        70.    No idea or function required SAS to use the exact taxonomy it used in the SAS

 System.

        71.    WPL could have developed a product to compete with SAS System without using

 the same taxonomy as the SAS System.

        72.    No idea or function required SAS to use the exact user interface or input formats it

 used in the SAS System.

        73.    WPL could have developed a product to compete with SAS System without using

 the same user interface or input formats as the SAS System.

        74.    No idea or function required SAS to use the exact groupings of inputs and

 commands it used in the SAS System.

        75.    WPL could have developed a product to compete with SAS System without using

 the same groupings of inputs and commands as the SAS System.

        76.    No idea or function required SAS to use the exact PROC statements and

 compilation of PROC statements it used in the SAS System.


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        77.     WPL could have developed a product to compete with SAS System without using

 the same PROC statements and compilation of PROC statements as the SAS System.

        78.     No idea or function required SAS to use the exact SSO it used in the SAS System.

        79.     WPL could have developed a product to compete with SAS System without using

 the same SSO as the SAS System.

        80.     No idea or function required SAS to use the exact output designs it used in the SAS

 System.

        81.     WPL could have developed a product to compete with SAS System without using

 the same outputs or output design as the SAS System.

        82.     WPL was not permitted to employ the same taxonomy, user interface, inputs,

 commands, PROC statements, SSO, and/or output designs chosen by SAS to create the SAS

 System.

        83.     WPL was not permitted to employ the same taxonomy, user interface, inputs,

 commands, SSO, and/or output designs chosen by SAS to create the SAS System regardless of

 whether WPL thought its customers expected the same taxonomy, user interface, inputs,

 commands, SSO, and/or output designs in a product related to the SAS Language, and regardless

 of whether WPL thought using the same taxonomy, user interface, inputs, commands, SSO, and/or

 output designs in a product related to the SAS Language would make for a better product or have

 what the customers WPL was attempting to take from SAS would be looking for.

        84.     Furthermore, the answer to the question of whether non-literal elements of a

 computer program are protectable or may be freely or fairly used by a competitor is based on

 whether or not the creator of the original work, here SAS, could have expressed those elements, at

 creation, in more than one way. It is not relevant whether the competitor thought it needed or even

 did need to copy those elements to make a better product or have what the customers WPL was

 attempting to take from SAS would be looking for.

        85.     As described elsewhere in this Complaint, PROC statements and the compilation

 of PROC statements were created by SAS. They are not part of a pre-existing language simply


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 incorporated into the SAS System. The PROC statements and the programs with which they are

 associated within the SAS System are further updated and changed over time by SAS and those

 changes and updates are then communicated to users of the SAS System and those who program

 in the SAS Language.

        86.     WPL did not attempt to create a non-infringing competitor of the SAS System, but

 instead knowingly and intentionally attempted to duplicate the creative elements of the SAS

 System.

        87.     WPL started creating a program copying as much of SAS’s taxonomy, user

 interface, inputs, commands, PROC statements, SSO, and/or output designs as it could from

 working with the SAS System software and copying from the SAS Manuals.

        88.     Copying from the SAS Manuals was common practice at WPL. For example, WPL

 Director, shareholder, and employee Tom Quarendon testified that “we read SAS manuals in

 connection with implementing WPS.” WPL employee Kevin Weekes testified that he would

 “study the SAS online manuals” and help files “provided with the SAS Learning Edition.” WPL

 Director, shareholder, and employee Peter Quarendon testified that over the years he had used “the

 Version 6 manuals, printed, the Version 8 manuals, online, and occasionally the Version 9.1

 manuals, also online” in addition to “the Learning Edition interactive help as [his] preferred source

 for documents.” WPL shareholder and employee Declan Vibert agreed that his “main source of

 reference was the SAS online documentation.”

        89.     WPL further fraudulently acquired many copies of the SAS Learning Edition so

 that it could run test after test and make modification after modification, each time coming closer

 until WPL felt as if it had finally copied the taxonomy, user interface, inputs, commands, SSO,

 and/or output designs in the SAS System.

        90.     Indeed, WPL Director, shareholder, and employee Tom Quarendon has testified

 that his “regularly employed” method was “to run each SAS script through the SAS Learning

 Edition to observe the output produced by the SAS software in response to the script,” then “run

 the same scripts through the WPS software to check that the WPS software produced the same


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 output as the SAS software or fails gracefully where anticipated.”

        91.     WPL Director, shareholder, and employee Peter Quarendon similarly has

 confirmed that WPL repeatedly compared the output of WPS “to that produced when the same

 application is run through the SAS Learning Edition” to verify “that WPS was . . . generating the

 same output as the SAS software.”

        92.     WPL generated “golden results” based on the SAS output to make sure that once

 WPS output matches SAS output, WPS continues to match and does not deviate from SAS.

        93.     For example, WPL Director, shareholder, and employee Peter Quarendon testified

 that the “golden results are taken from the WPL output which is achieved once the programmer of

 the relevant functionality of the WPS source code is satisfied that it is performing adequately and

 its behavior is sufficiently similar to that of the SAS software.”

        94.     WPL copied SAS’s creative choices and expression because WPL believed that this

 expression was important to programmers and companies using programs in the SAS Language

 and that WPL would better be able to market a replacement product the more it was designed and

 looked like the SAS System.

        95.     For example, WPL Director, shareholder, and employee Thomas Quarendon

 testified that WPL made its log files look the same as SAS’s log files “because people are used to

 scanning SAS logs and expecting the information to come out in a certain way.”

        96.     In fact, WPL marketed its WPS program as being able to “compare exactly” to the

 SAS System, including the creative choices made by SAS with regards to taxonomy, user interface,

 inputs, commands, PROC Statements and SAS’s compilation of PROC statements, SSO, and/or

 output designs.

        97.     Even when, in testing, WPL’s WPS program worked as a competing system to the

 SAS System, if WPL found any inconsistency between WPS and the SAS System, for example,

 in the output design of the two products, WPL changed WPS to be exactly like the SAS System.

        98.     At least one WPL executive and numerous WPL programmers have stated that

 reproducing the SAS System precisely was the only way to be viable as a competitor to SAS.


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        99.     WPL’s chief software architect has stated that the enormous design and

 programming challenge WPL had was “producing an identical output to the output produced” by

 the SAS System.

        100.    WPL contractor Steve Bagshaw similarly testified that WPL “need[ed] to ensure

 that . . . the report produced [in WPS] is identical to that produced by SAS.”

        101.    WPL Director, shareholder and employee Martin Jupp confirmed that “[a]ny

 deviations in the output from WPS as compared with . . . the SAS software is perceived by the end

 user to be a WPS bug.”

        102.    WPL shareholder and employee Declan Vibert likewise testified that “[i]t is WPL’s

 policy to make the output of WPS identical to that produced by the SAS software whether [WPL]

 believe[s] the output to be technically accurate or not.”

        103.    As such, WPL’s concern was not simply developing a competing product that

 performed similar functions to the SAS System, but rather to copy precisely the creative expression

 in the SAS System, including SAS’s taxonomy, user interface, inputs, commands, PROCs and

 PROC statements, SSO, and/or output designs.

        104.    Upon information and belief, WPL has gone so far as to copy the SAS System

 creative expression even when it believes that the creative expression reflects a bug or mistake in

 the SAS System, so that it can make sure that WPS is as exact a copy as possible.

        105.    Upon information and belief, when SAS has updated or changed the SAS System

 and the SAS Manuals, including without limitation changes to its PROCs and PROC statements,

 WPL has attempted to duplicate those changes within WPS.

        106.    In creating the taxonomy, user interface, inputs, commands, PROC statements and

 compilation of PROC statements, and SSO for the SAS System, SAS made thousands of creative

 choices.

        107.    SAS has created hundreds of PROCs to allow users of the SAS Language a specific

 and creative way to analyze data resulting in a specific and creative output format. These can

 range from something small, but still creative such as PROC SORT, where SAS still makes many


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 creative decisions about how to structure the PROC and its inputs, commands, defaults, and

 options and present data in a way that will be intuitive and helpful—and which takes 42 pages in

 the SAS Manuals to describe—to PROC GLM, a complex process used to build models to predict

 behavior—and which takes 196 pages in the SAS Manuals to describe.

        108.    SAS could have chosen from widely varying creative expression to create the SAS

 System programs associated with the SAS System PROC statements right down to the naming of

 the PROC statements themselves and the overall taxonomy of the entire system.

        109.    In fact, one of the creative choices made by SAS involves which PROC statements

 and programs are to be put into the SAS System at all. SAS has to decide which types of statistical

 analyses and processes should be included in the SAS System and what they should be named

 through the PROC statement. SAS also has to decide how broad or narrow to make PROCs, and

 what options are made available within each PROC.

        110.    PROCs involve an initial statement followed by a series of related statements,

 normally resulting in a creative output design, each creatively chosen from among many choices

 to express the function needed by the user. The name of the PROC statement, such as GLMMOD

 or GLMSELECT is chosen by SAS and that choice is a creative one: nothing dictates the PROC

 statement, and collectively, the names of the many PROC statements represent a very compilation

 creatively and specifically selected by SAS.

        111.    SAS designed its input formats, including the SAS System PROCs and their option

 names, syntax, default parameters, the interrelationships of the various parameters, and the user

 interface, by considering a wide range of alternative expressions for the statement names,

 command structures, syntax, and default parameters.

        112.    SAS further designed its output design and formats in a creative manner, choosing

 from an almost infinite array of formats in an attempt to get to what the SAS designers thought

 were both aesthetically pleasing and easily understandable visuals to the user.

        113.    SAS has an internal review process to review each PROC, the various PROC

 statements, the SSO, and all proposed output formats to make for the best user experience,


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 including an attractive and appealing design.

        114.    Such review is not simply to make sure the PROC works properly, but to review

 many different options of creative expression and choose among various proposals from the

 programmers as well as to authorize the details of exactly how the output will look.

        115.    Further showing that the SAS System is a result of creative choices and not

 mandated by function, SAS has made updates to the SAS System and SAS Manuals and the various

 PROCs over time, wherein the SAS System performs the same statistical functions, but wherein

 the overall user experience, including the presentation, organization, and structure of the user

 interface and output designs have changed.

        116.    As a result of the SAS System’s creative choices used in conjunction with the user’s

 program, users of the SAS System will obtain specific results unique to the SAS System and an

 output design showing those results that is the precise result of the creative expression and choices

 of the SAS System programmers at SAS.

        117.    SAS also uses creative judgment in selecting, growing, organizing, and grouping

 the collection of PROC statements, options, and design outputs and tables over time, regularly

 adding new creative expression to the SAS System.

        118.    WPL chose to mimic the creative expression and choices made by SAS exactly for

 the hundreds of PROCs.

        119.    For example, here is a side-by-side comparison of what the SAS System output

 design looks like for a simple SAS program that invokes PROC MEANS and PROC SORT, along

 with the WPL output design:


                        sSAS                                               WPS




                                                  20
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        120.   The example at Paragraph 128 is just one simple example of WPL’s copying of

 SAS’s creative expression in the SAS System. WPL’s blatant copying of the SAS System output

 design, as well as the taxonomy, user interface, inputs, commands, and SSO of the SAS System,

 is even more noticeable when viewing side-by-side comparisons of the output designs for more

 complex programs.

        121.   For example and without limitation, the following side-by-side comparison of the

 SAS System output design and the WPL System output design for a SAS program that invokes the

 more complex PROC UNIVARIATE and shows the identity in naming, taxonomy, user interface,

 and SSO:




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                       SAS                                               WPS




        122.   Other statistical software on the market performing the corresponding analysis (i.e.,

 an idea) on identical data have markedly different output designs (i.e., the expression) from the

 SAS System. These include without limitation the competing products, “R,” “Minitab,” and

 “SPSS.”




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        123.    For example, this is the output of the open-source software, “R”, performing the

 data analysis similar to that performed by the SAS System’s PROC UNIVARIATE:




        124.    This is the output of IBM’s competing product, SPSS, performing the data analysis

 similar to that performed by the SAS System’s PROC UNIVARIATE:




        125.    As another example of the numerous alternative expressions that software packages

 could use to express the same idea, each of various competing programs can perform a regression

 analysis with variance inflation errors. In SAS, the idea is expressed as follows:




        126.    The command name is expressed as “REG.”              The dataset is expressed as

 “Data=cement.” The variables are expressed in “MODEL.” The option of determining the

 variance inflation is represented by “NIP.”

        127.    In the third-party competitor product SPSS, the same idea is expressed differently:




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         128.   In SPSS, the command name is expressed as “REGRESSION.” The subcommands

 are introduced by the symbol “/”. The variables are expressed as “/DEPENDENT” and

 “/METHOD=ENTER”.

         129.   In R, the same idea and calculation are expressed differently from both SAS and

 SPSS:




         130.   The WPS output format and design is also identical to the output in SAS. As another

 example, SAS provides the following expression of output from PROC REG:




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        131.    WPS uses the same output expression as SAS for PROC REG:




        132.    However, the output in the competing product SPSS for a similar analysis is

 expressed differently than the output in SAS, using four different tables to show the output. The

 first output table shows:




        133.    The second SPSS output table shows:




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        134.    The third SPSS output table shows:




        135.   The fourth SPSS output table shows:




        136.   In the competing product R, the output for a similar analysis is expressed differently

 from both SAS and SPSS. The input and output expressions in R are shown below, with the input

 statements following the prompt “>” expression used in R:



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        137.   Here is another example showing both the “SAS Log” and the output of a sample

 SAS program side by side with the WPS Log and output, copying the same creative expression:




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                      SAS                                          WPS




        138.   Here is another example showing both the “SAS Log” and the output of another

 sample SAS program side by side with the WPS Log and output, copying the same creative

 expression:




                                            28
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                    SAS                                   WPS




                                      29
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        139.   Here is another example showing both the “SAS Log” and the output of another

 sample SAS program side by side with the WPS Log and output, copying the same creative

 expression:
                       SAS                                          WPS




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                        SAS                                             WPS




        140.   The examples shown above are just a few of many possible examples. Literally

 thousands of SAS creative choices resulting in highly creative expression were copied by WPL in

 creating its knock-off clone of the SAS System.

        141.   These creative choices include without limitation, SAS’s taxonomy and input




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 formats (e.g., the SAS PROCs, PROC statements, routines, statements, formats, procedures, and

 options). There were more than 200 pages of spreadsheets on WPL’s own website listing (and

 essentially marketing) how the variously named features and taxonomy of the SAS System were

 copied into WPS.

        142.    These creative choices also include without limitation the extensive SSO chosen by

 SAS. There were many combinations of options available to SAS employees, who put together

 the precise creative expression that is the SAS System SSO.

        143.    In addition, these creative choices include the plethora of SAS System output

 designs and formats (e.g., the screen displays, presentation, formatting, colors, organization and

 labeling of the analysis and output generated by the SAS System for each procedure and interaction

 with users of the program).

        144.    Even if any individual elements of the taxonomy, user interface, inputs, commands,

 PROC statements and any specific SSO, and/or output designs chosen by SAS could be found to

 be not copyrightable when viewed in isolation, SAS’s creative selection and arrangement of any

 such non-copyrightable elements would be a copyrightable compilation protected by the United

 States Copyright Act.

        145.    Furthermore, a comparison between the SAS System and the knock-off clone WPS

 done after the removal of non-copyrightable elements, if any, under an abstraction-filtration-

 comparison test will show that WPL copied the copyrightable non-literal elements of the SAS

 System precisely.

                                       PATENTS-IN-SUIT

        146.    WPL has violated SAS’s patent rights via its making, using, offering for sale,

 selling, and importation of WPS software. Furthermore, on information and belief, Yum and Pizza

 Hut have violated SAS’s patent rights by using WPS software.

        147.    On January 30, 2007, the United States Patent and Trademark Office duly and

 legally issued United States Patent No. 7,170,519, entitled “Computer-Implemented System and

 Method for Generating Data Graphical Displays,” to plaintiff SAS. SAS is the assignee of and the


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 rightful owner of the ’519 Patent, a true copy of which is attached hereto as Exhibit 1. The ’519

 Patent claims priority to a provisional patent application filed on March 29, 2002.

        148.      Claim 1 of the ’519 Patent describes and claims with specificity how one aspect of

 the invention may be performed:

                  A computer-implemented method for generating data graphical displays,

        comprising the steps of:

                  receiving data to be displayed in a non-textual format, said received data

        being indicative of a plurality of variables;

                  retrieving graph style data items from a data file, said graph style data items

        containing display characteristics to be used in displaying the data in a non-textual

        format;

                  and accessing of the graph style data items in order to display non-textual

        formatted output based upon the graph style data items;

                  said graph style data items containing graph style metadata that have

        descriptors specifying what statistical roles different data variables have within the

        data;

                  wherein the specified statistical roles are used to define display

        characteristics for the data;

                  wherein the data is displayed in a non-textual format in accordance with the

        graph style data items and the graph style metadata.

        149.      On November 4, 2008 the United States Patent and Trademark Office duly and

 legally issued United States Patent No. 7,447,686, entitled “Computer-Implemented System and

 Method for Handling Database Statements,” to plaintiff SAS. SAS is the assignee of and the

 rightful owner of the ’686 Patent, a true copy of which is attached hereto as Exhibit 2. The ’686

 Patent was filed on November 22, 2002.

        150.      Claim 1 of the ’686 Patent recites:

        A computer-implemented method for handling a database statement from a first database


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 system, comprising the steps of:

        receiving a first fourth-generation language database statement from the first database

               system, wherein the first database statement is formatted according to the first

               database system's query language format;

        accessing database functional language difference data, wherein the database functional

               language difference data indicates a format that contains at least one database

               functional statement difference from the first database system's query language

               format;

        generating a second fourth-generation language database statement that is used within a

               second database system, wherein the second database statement is generated based

               upon the first database statement and upon the accessed database functional

               language difference data, wherein the second database statement is compatible with

               the second database system's query language format;

        wherein a tree representative of the syntax of the database language used within the first

               database system and of metadata associated with the first database system is used

               in generating the second database statement;

        wherein the tree contains logical pieces parsed from the first fourth-generation language

               database statement;

        using a plurality of component software objects to textualize the logical pieces contained

               in the tree, wherein textualizing a logical piece includes generating fourth-

               generation database language text;

        wherein a first component software object is associated with a first logical piece contained

               in the tree;

        wherein the first component software object is associated with a first method to textualize,

               into fourth-generation database language text, the first component software object's

               associated logical piece that is contained in the tree;

        using a plurality of software drivers to textualize logical pieces into fourth-generation


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                 database language text;

        wherein a first software driver textualizes through a second method a logical piece into

                 fourth-generation database language text that is compatible with the second

                 database system's query language format;

        wherein a second software driver textualizes through a third method a logical piece into

                 fourth-generation database language text that is compatible with a third database

                 system's query language format;

        switching association of the first component software object from the first method to the

                 second method for fourth-generation database language textualization;

        wherein because of the switching of the association of the first component software object,

                 the first component software object textualizes fourth-generation database language

                 text that is compatible with the second database system's query language format

                 and that is not compatible with the first database system's query language format.

        151.     On July 30, 2013 the United States Patent and Trademark Office duly and legally

 issued United States Patent No. 8,498,996, entitled “Computer-Implemented Method and System

 for Handling and Transforming Database Queries in a Fourth Generation Language,” to plaintiff

 SAS. SAS is the assignee of and the rightful owner of the ’996 Patent, a true copy of which is

 attached hereto as Exhibit 3. The ’996 Patent was filed on November 3, 2008.

               152.     Claim 1 of the ’996 Patent recites:

        A computer-implemented method for processing a query, comprising:

        receiving a native syntax query requesting data stored in a non-native database that uses a

                 non-native syntax, wherein the query is received at an application that is separate

                 from the non-native database, wherein the query requests that the data be retrieved

                 from the non-native database, wherein the query requests that a processing

                 operation be performed on the requested data by the application, wherein the query

                 includes one or more expressions, and wherein one or more of the expressions

                 includes one or more functions;


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        parsing the native syntax query, wherein parsing includes identifying a function within an

                expression that cannot be processed by the non-native database, wherein the

                function specifies the processing operation to be performed on the requested data

                by the application, wherein a plurality of labels are associated with the function and

                the expression, and wherein labels include constant labels and format labels;

        analyzing the function and the expression to determine a context of the function within the

                expression, wherein the context describes how the function is used within the

                expression;

        generating, using one or more data processors, a final expression query by obtaining a

                control string from an internal table for each of the plurality of labels associated

                with the function and the expression, wherein label modifiers are applied to format

                labels;

        transforming the native syntax query into an equivalent non-native syntax query, wherein

                transforming includes parsing and inserting the final expression query into the

                equivalent non-native syntax query using the function, the expression, and the

                context to translate the function and the expression into multiple functions and

                multiple expressions that are configured for processing by a non-native database

                system;

        transmitting the equivalent non-native syntax query to a non-native database system to

                generate results and to perform the processing operation on the generated results;

        receiving processed results from the non-native database system;

        and transmitting the processed results to a client application.

        153.    On July 19, 2005 the United States Patent and Trademark Office duly and legally

 issued United States Patent No. 6,920,458, entitled “Model Repository,” to plaintiff SAS. SAS is

 the assignee of and the rightful owner of the ’458 Patent, a true copy of which is attached hereto

 as Exhibit 6. The ’458 Patent was filed on September 22, 2000.




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          154.   Claim 61 of the ‘458 patent recites:

                 A model repository system, comprising:

                 a data store for storing a plurality of data records;

                 a data mining application for analyzing the data records and for generating a

                 plurality of data models; and

                 a model repository for storing the generated data models, wherein the model

                 repository includes one or more index structures containing a plurality of attributes

                 associated with the data models;

                 a model repository facility for exporting the generated data models to the model

                 repository;

                 a first configuration data store that stores information to be used by the model

                 repository facility in exporting the generated data models to the model repository;

                 and

                 a second configuration data store that stores information to be used by the model

                 repository system in building the one or more indexes in the model repository.

      THE INVENTIONS CLAIMED IN THE PATENTS-IN-SUIT ARE NOT WELL-
                UNDERSTOOD, ROUTINE, OR CONVENTIONAL
                                            The ‘519 Patent

          155.   The ’519 Patent claims a method of generating graphical displays based on data

 items and metadata embedded within a data file. At the time the ‘519 Patent was filed, this method

 of generating graphical displays was not conventionally practiced.

          156.   The inventors of the ’519 Patent recognized that “[g]raphical depictions of

 computer-generated data aid users in their analysis and understanding of the data.” ’519 Patent

 col. 1:26–27. While “[m]any types of software applications can display data graphs,” “the styles

 that define the appearance of graphical displays were traditionally tightly coupled with the

 software application generating the graphs.” Id. at 1:27–31. This feature created problems for

 users.   “Difficulties arose during attempts to use graphical styles defined in one software


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 application in a different software application.” Id. at 1:31–33. Similarly, “the graphical styles

 defined within a software application usually were limited to fairly small sets of configurable

 items, such as background colors.” Id. at 1:33–36.

        157.    The inventors of the ’519 Patent appreciated the benefit of making graph styles

 widely compatible across software programs. With greater compatibility, users could more easily

 generate graphical displays and transfer them among software programs. Greater compatibility

 also gave users a broader array of configurable items to use in altering graphical displays. The

 ’519 Patent specifically explained how the invention’s unconventional method led to these tangible

 improvements to the prior art.

        158.    Figure 3 highlights some of the ’519 Patent’s key improvements.                In this

 embodiment, “[t]he graph styles data structure contains graph styles format data and graph styles

 metadata.” Id. at 2:46–47. “The format data may include graph font characteristics, graph

 backgrounds, [or] graph color schemes,” and may be “at varying levels of detail.” Id. at 2:47–50.

 The format data also may be coded to “define styles to be used by all components on a graph” or

 to “define styles on a per graphical component level.” Id. at 2:50–55. These unconventional

 features of the invention overcame the “fairly small sets of configurable items” that were offered

 to users in the prior art when editing graphical displays. Id. at 1:34–35.

        159.    The ’519 Patent claims likewise recite unconventional methods that improve the

 underlying computers’ ability to display graphical items. For example, claim 1 recites a method

 comprising “receiving data to be displayed in a non-textual format” and “retrieving graph style

 data items from a data file.” Id. at 10:19–22. The “graph style data items contain[] graph style

 metadata that have descriptors specifying what statistical roles different data variables have within

 the data.” Id. at 10:29–31. The metadata and statistical roles “define display characteristics for

 the data.” Id. at 10:33–34. Because the metadata is embedded within the graph style data items,

 the invention overcomes several problems that plagued the prior art, such as the inability to transfer

 graphical styles among software programs and offer users the full range of configurable items.

        160.    The ’519 Patent’s solutions are rooted in computer technology and overcome


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 problems specifically arising in the realm of electronic graphical displays. This technical context

 is reflected in the Patent’s claims. The claims recite graph style metadata and statistical roles that

 contain instructions for displaying computer-generated images. A person of ordinary skill in the

 art at the time of the ’519 Patent would not have understood that the invention could be performed

 solely in the human mind or by using pen and paper. A pen-and-paper imitation ignores the stated

 purpose of the invention and the problems the Patent specifically solved.

                                           The ’686 Patent

        161.    Like the ’519 Patent, the ’686 Patent claims an unconventional solution to a

 uniquely technical problem. The invention in the ’686 Patent covers a new method for handling

 database queries from a first system that may utilize a different language format than the database

 being queried. This method of accessing databases utilizing different language formats was not

 conventionally practiced in 2002, when the ’686 Patent was filed.

        162.    The inventor of the ’686 Patent explained that “[d]ata access across different

 database platforms proves difficult due to the platforms using varying database commands.” ’686

 Patent 1:13–14. Most databases accept some form of structured query language (SQL) “which is

 based on a well-documented ANSI standard.” Id. at 1:15-16. However, “most database systems,

 such as those from Oracle, Sybase, Business Objects, SAS, or Brio, implement a superset of the

 ANSI standard.” Id. at 1:16-19. It is the differences between these supersets that provide obstacles

 in cross-platform database operations. Id. at 1:19-20.

        163.    As such, the prior art was beset with incompatibility difficulties between the various

 database languages and variants between supersets of those database languages based on the ANSI

 standard. See id. at 1:13-20. The ’686 Patent’s invention was specifically designed to overcome

 such difficulties and others by providing a computer-implemented method for converting a “native

 database statement into a variety of third party database dialects through a textualization process.”

 Id. at 2:20–21. For example, “if a native database system [] uses an outer join syntax to be specified

 in an SQL query statement [] that is different from what a third party database system [] uses, then

 the textualization process 50 creates based upon the specific textualizations [] a processed SQL


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 command [] for the third party database system 42 that employs the third party's outer join syntax.”

 Id. at 2:27-33.

        164.       The ’686 Patent inventor recognized the advantage of allowing a first database

 system to access (and process) the data stored in second database that utilizes a differing or

 incompatible language format. With data being stored in multiple different types of databases and

 the exponential growth of the internet and computing technology, the need had grown for software

 applications to access and exchange more data than ever before.             The patented method

 “overcomes” the disadvantages in the prior art and enhances computers’ efficiency in accessing

 data across normally incompatible database formats. See id. at 1:13–30.

        165.       Figure 2 demonstrates the advantages of the claimed invention.              In this

 embodiment, “an SQL tree 60 is used by the textualization process 50 to process an SQL

 statement” in the native database system’s language format. Id. at 3:1-2. The SQL tree “represents

 the syntax of a native database’s SQL statement [] and its related metadata (e.g., table names,

 column names, etc.).” Id. at 3:3-5. The tree may contain a “hierarchical arrangement of nodes

 representative of the SQL syntax and metadata to be processed.” Id. at 3:5-7. As an illustration:

        a database system from SAS Institute Inc. has an SQL language which has
        differences from other vendor's SQL. The textualization process 50 allows a SAS
        SQL statement to be converted into a third party vendor-specific SQL in order to
        successfully submit a table request to the third party's relational database system
        (RDBMS). This is accomplished by representing the SAS SQL statement as an SQL
        tree 60. The SQL tree 60 is passed to the textualization process 50 to convert the
        tree 60 into the text of the third party vendor-specific SQL query, taking into
        account any DBMS-specific SQL. The textualization operation happens in this
        example just prior to the call to a prepare( ) or executeDirect( ) routine. These
        standardized routines then pass the SQL query to an RDBMS in the form of text. It
        is noted that in an SQL-centric table services model, an SQL query typically gets
        passed to either the prepare( ) or executeDirect( ) routines (depending on context).
        A call to either of these routines, therefore, constitutes a request to an RDBMS.

 Id. at 3:19-36.
        166.       The claims in the ’686 Patent underscore the invention’s unconventional approach

 to converting database queries. Claim 1 recites thirteen separate elements specifying exactly how



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 a database statement from a first database system is made to be compatible with a second database

 system’s query language format. See id. at 9:61-10:50. Among other limitations, the claim’s

 specific use of textualization methods and use of a tree representative of the syntax of the database

 language used within the first database system helps to overcome the incompatibility problem that

 afflicted the prior art.

         167.    The ’686 Patent’s solutions are rooted in computer technology and database access.

 All of the claims are comprised of at least thirteen various elements that specify how one can

 overcome the incompatibility problem in the prior art. These claimed elements spotlight the

 Patent’s focus on a narrow and specific technical problem that arose when accessing incompatible

 database formats from differing vendors. The claims of the ’686 Patent are directed toward a

 specific method of transformation of database queries (as evidenced by claim 1’s thirteen separate

 limitations). The claims do not preempt all methods of transforming database queries into a

 differing format. The invention, at bottom, improves a database’s underlying performance by

 allowing it to access and process data stored in a separate database with an incompatible format.

                                          The ’996 Patent

         168.    Like the ’686 Patent, the ’996 Patent claims an unconventional solution to a

 uniquely technical problem. The invention in the ’996 Patent covers a new method for generating

 a query in a first fourth generation language at a native system to a non-native database which is

 capable of processing queries in a separate fourth generation language. The query is initiated by a

 client in a first fourth generation language which is analyzed to determine if it can be processed

 by a non-native system capable of processing queries in a second fourth generation language. ’996

 Patent at Abstract. Non-standard syntax representative of a function and the query that cannot be

 evaluated by the non-native database system is identified. Id. If the syntax is discovered, the

 query is transformed through the use of formats or through an algorithm process into an equivalent

 query expression that can be processed by the database system. Id. This method of accessing

 databases utilizing different language formats was not used in the prior art.

         169.    The inventors of the ’996 Patent explained that “[a] typical database access


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 environment often requires that proprietary client applications interact effectively with

 databases.” ’996 Patent 1:14–16. As with the ’686 Patent, the inventors of the ’996 Patent note

 that “[w]hen retrieving data from such databases, such client applications require query engine

 formulated queries, typically in structured query language (“SQL”) being passed down and

 processed by the database for performance.” Id. at 1:16-19. Notably, “in order for the SQL query

 to operate effectively, it must be free of any specific client application syntax that the databases

 do not support.” Id. at 1:20-22.

        170.    The ’996 Patent recognizes that a premium is placed on speed and the reduction of

 processing cycles. It is thus desirable to issue queries which result in as little data being returned

 as possible, otherwise too much data could be returned to the client side which results in an

 extensive amount of data storage, network communication time, congestion, processing and

 expense. See id. at 1:23-28.

        171.    The inventors of the ’996 Patent noted various problems associated with the prior

 art. Specifically, one prior art method analyzed an SQL/on-line analytical programming (OLAP)

 window aggregates that are not supported by a target system and transforming those SQL/OLAP

 windowed aggregates into equivalent standard aggregate functions that are supported by the target

 database system. Id. at 1:29-34. That prior art method “addresses group query transformations in

 a database system that does not support the SQL-99 standard. Thus, the solution only applies to a

 specific standard and does not provide an effective general solution for a fourth generation

 language environment between a native system and a non-native database system for processing

 queries.” Id. at 1:37-41.

        172.    One purpose of the ’996 Patent was “to prevent or reduce the amount of local

 processing required to process a query, which is provided in accordance with the computer-

 implemented method and system described herein.” Id. at 1:51-54.

        173.    Figure 3 illustrates client computers 103 and 105 seeking to invoke a SAS

 procedure known as PROC SQL. “PROC SQL includes a query engine” and the “application

 relies on SQL queries being passed down and processed by the database system 109.” Id. at 3:28-


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 30. The queried database system 109 may be available from companies such as Oracle, IBM,

 Teradata, and others. “The data is imported into the PROC SQL processing environment where

 the formatting work for the put( ) function” is performed. Id. at 3:53-55. An SQL query fetches

 the data into the client specific environment 103, 105 and 107 to operate on the data. Id. at 3:55-

 57. “When table sizes are large, the performance of fetching all data measured in response time

 degrades” which “becomes a greater problem as 4GL product integration with third party databases

 expand and the popularity of using formatted data increases.” Id. at 3:58-62. A result of these

 problems in the prior art is “more and more of the queries are not passed to the database.” Id. at

 3:62-63. To solve these problems, the patents method “allows transformation of many functions

 such as the put( ) function into an alternate SQL syntax which may be passed and operated on by

 the database system 109.” Id. at 63-67.

        174.    The flowcharts of Figures 5-13 are various embodiments of how these functions

 are transformed into syntax which may be passed on an operated on by the target database system.

        175.    The claims in the ’996 Patent underscore the invention’s specific and

 unconventional approach to transforming database queries.         Claim 1 recites seven separate

 elements specifying exactly how a query from a first computer is transformed into equivalent non-

 native syntax query to a non-native database system to generate results and to perform the

 processing operation on the generated results. See id. at 17:44-18-21. Claim 1 discloses a very

 specific method of the claimed transformation and data retrieval that helps to overcome the

 problems that afflicted the prior art.

        176.    The ’996 Patent’s solutions are rooted in computer technology and database access.

 The claims are comprised of at least seven various elements that specify how one can overcome

 the problems in the prior art. These claimed elements spotlight the ’996 Patent’s focus on a narrow

 and specific technical problem that arose when accessing incompatible database formats from

 differing vendors. The claims of the ’996 Patent are directed toward a specific method of

 transformation of database queries and data retrieval. The claims do not foreclose all methods of

 transforming database queries into a differing format and retrieving data. The invention, at bottom,


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 prevents or reduces the amount of local processing required to process a query to a database with

 an incompatible format. This method of transforming database queries was not conventionally

 practiced in 2008, when the ’996 Patent was filed.

                                           The ’458 Patent

         177.     The ’458 Patent claims an unconventional solution to a uniquely technical problem.

 The invention in the ’458 Patent covers a model repository system for creating, storing, organizing,

 locating, and managing a plurality of data models. The model repository “may be organized into

 a plurality of levels, including a project level, a diagram level, and a model level.” ’458 Patent at

 Abstract. Associated with the model repository is a model repository facility that is “preferably

 integrated into the data mining application and enables operations, such as the exportation of useful

 models to the model repository.” Id. The model repository may also include one or more index

 data structures for storing attributes of the models. Id. These indexes may include an index “that

 contains attributes of all the models stored in the model repository,” and others “that contain the

 attributes of a particular sub-set of the models stored in the model repository.” Id. This system of

 creating, storing, organizing, locating, and managing a plurality of data models was not used in

 the prior art.

         178.     The inventors of the ’458 Patent explained “with the explosion of Internet-related

 traffic, business enterprises are generating volumes of data that are one or more orders of

 magnitude larger than before.”       ’458 Patent 1:22–25.      This increased data resulted in the

 development of data mining software that can “search through the large volumes of data stored in

 the data warehouse and can identify patterns in the data using a variety of pattern-finding

 algorithms.” Id. at 1:32-35. The patterns identified by the algorithms “are then used by the

 business analyst in order to make business recommendations.” Id. at 1:35-36. “When the data

 mining tool is executed according to a particular specification, it generates a resulting analysis that

 is termed a model.” Id. at 1:47-49. These models accumulate within a particular company and

 various models may not be up-to-date, may be based on different input data, may be generated by

 different individuals within a company, may be based on different data sampling techniques, etc.


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 Id. at 1:55-2:3.   “There is no straightforward way for people who want to use models to know

 which ones (other than their own) are available and to find the one(s) appropriate for a given

 purpose. Tracking down or duplicating the generation of appropriate model(s) requires extensive

 human resources and time.” Id. at 2:3-8.

        179.    The ’458 Patent recognizes that a premium is placed on organization and the

 effective management of multiple models. It was thus desirable to create the claimed system and

 method for creating, storing, organizing, locating and managing a plurality of models generated

 by a data mining application or other application. See id. at 2:9-36.

        180.    The claims in the ’458 Patent underscore the invention’s specific and

 unconventional approach to managing models in the model repository system. Claim 61 recites

 multiple `elements specifying exactly what the claimed model repository system contains, and how

 it helps to overcome the problems associated with the multiple models created within an

 organization by the known data mining software.

        181.    The ’458 Patent’s solutions are rooted in computer technology and data mining

 applications. The claims are comprised of various elements that specify a system that can solve

 problems raised in the technological field of data mining and modeling. These claimed elements

 spotlight the ’458 Patent’s focus on a technical problem that arose when data mining software was

 used to generate multiple models within an enterprise. The claims do not foreclose all systems

 and methods of managing multiple models within a model repository. This model repository

 system was not conventionally practiced in 2000, when the ’458 Patent was filed.



               WPS’S PRE-SUIT KNOWLEDGE OF THE PATENTS-IN-SUIT
                      AND THE COPYING OF SAS’S INVENTIONS
        182.    WPL’s efforts to create a copy of the SAS System did not only involve the illegal,

 fraudulent, and deceptive access to and examination of the SAS Learning Edition and the SAS

 System. WPL and its employees also monitored papers published by SAS employees and inventors

 relating to how specific functionality within the SAS System operates and used the disclosure of


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 such papers to copy the functionality of the SAS System into WPS.

        183.    WPL’s pervasive copying and monitoring of SAS’s papers and disclosures

 indicates that WPL knew of or should have known of SAS’s patent rights relating to the SAS

 System, including the Patents-in-Suit.

        184.    In a prior litigation, WPL’s Oliver Robinson disclosed that he was in possession of

 a document described as “Extract from SAS Paper, untitled (front page missing),” (the “SAS Paper

 Extract”) attached hereto as Exhibit 4.

        185.    In connection with a witness statement in prior litigation, Mr. Robinson also

 disclosed a schedule of work for the development of WPS which include the following excerpt

 indicating that between April and June 2009, WPL was adding the PROC SQL language and

 described the work as “Implicit passthrough code added – this textualises portions of the code that

 can be pass [sic.] through to a database in order to reduce the amount of data being returned”:




        186.    In that same lawsuit, WPL’s Ben Scurr testified that WPL improved the PROC

 SQL function by taking such functionality from various SAS papers. Mr. Scurr testified:

        During April 2009 to June 2009, I undertook further work to improve the performance of
        PROC SQL when it is reading or writing data to or from a third party database e.g.
        Microsoft SQL Server. This is accomplished by evaluating how much of the query plan
        can be handed off to the database to execute rather than WPS doing it. This was another
        optimization effort, and compromised a large raft of work from published SAS papers on
        what is known as implicit Passthrough. A list of the papers referred to during this work is
        exhibited at tab 2 of BDS1.
        187.    Tab 2 of BDS1 included the following SAS paper, “New SAS® Performance

 Optimizations to Enhance Your SAS® Client and Solution Access to the Database” (the “Whitcher

 Paper”). A copy of this paper is attached as Exhibit 5. Notably the Whitcher Paper is a nearly

 identical version of the “SAS Paper Extract” of Exhibit 4 with the front page intact.

        188.    Both the SAS Paper Extract and the Whitcher Paper were authored by Mike


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 Whitcher, the first named inventor of the ’996 Patent.

        189.    The SAS Paper Extract and the Whitcher Paper both disclose PROC SQL database

 translation functionality and implicit passthrough that is the subject of the ’996 Patent. In fact,

 many of the examples and tables in the ’996 Patent are disclosed in both the SAS Paper Extract

 and the Whitcher Paper. Compare ’996 Patent at 10:55-65 with SAS Paper Extract and Whitcher

 Paper at 2; compare “Supported unPUT Formats & Widths” table in ’996 Patent at 8:17-9:18 with

 SAS Paper Extract and Whitcher Paper at 5. Further, both the SAS Paper Extract and the Whitcher

 Paper extend acknowledgements to “Rick Langston and Howard Plemmons for their work on

 unPUT technology.” SAS Paper Extract and Whitcher Paper at 15. Notably, Rick Langston and

 Howard Plemmons are the other two named inventors on the ’996 Patent.

        190.    During a prior trial with much of WPL’s management in attendance, SAS employee

 and co-inventor of the ’996 Patent, Rick Langston, testified that he held two patents and that the

 second “has to do with something we call unPUT, and that is the undoing of format in order to

 make SQL processing – Structure Querying Language processing faster and the underlying

 technology for that.”

        191.    WPL clearly copied SAS’s invention claimed and disclosed in the ’996 Patent.

        192.    WPL was monitoring papers and publications by SAS employees relating to the

 operation of various SAS System functionality, including the technologies disclosed and claimed

 in the Patents-in-Suit. On information and belief, WPL knew or should have known of the Patents-

 in-Suit and its infringement thereof as early as the initial development of WPS. At the very least,

 WPL was aware of the Patent-in-Suit and its infringement thereof at least as early as the prior trial

 where the existence of SAS patent was specifically disclosed.

                           INFRINGEMENT OF THE ’519 PATENT

        193.    On information and belief, Defendant WPL infringes at least Claims 1 and 34 of

 the ’519 Patent because WPL provides software and services (WPS) which embodies the claims

 of the ’519 Patent.

        194.    For example, Claim 1 is directed to a method for generating data graphical displays.


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         195.    On information and belief, using certain features of WPS consists of a method for

 generating data graphical displays.

         196.    On further information and belief, WPS receives data in a non-textual format that

 is indicative of a plurality of variables.

         197.    On further information and belief, WPS retrieves graph style data items from a data

 file.

         198.    On further information and belief, WPS consists of graph style data items that

 contain display characteristics to be used in displaying the data in a non-textual format.

         199.    On further information and belief, WPS accesses the graph style data items in order

 to display non-textual formatted outputs that are based upon the graph style data items.

         200.    On further information and belief, the graph style data items within WPS contain

 graph style metadata that have descriptors specifying what statistical roles different data variables

 have within the data.

         201.    On further information and belief, WPS contains specified statistical roles which

 are used to define display characteristics for the data.

         202.    On further information and belief, WPS displays data in a non-textual format in

 accordance with the graph style data items and the graph style metadata.

         203.    Claim 34 is directed to an apparatus for generating graphical displays based upon

 data.

         204.    On information and belief, WPS generates graphical displays based upon data.

         205.    On further information and belief, WPS contains a graph generator module that

 receives data to be displayed in a non-textual format with the received data being indicative of a

 plurality of variables.

         206.    On further information and belief, WPS contains a graph styles data structure that

 defines display characteristics to be used in displaying the data in a non-textual format.

         207.    On further information and belief, the graph style data structures in WPS contain

 graph style metadata that defines display characteristics for data through the metadata associating


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 at least two of the variables with statistical roles.

         208.    On further information and belief, WPS’s graph generator modules have data

 access to the graph style data structure.

         209.    On further information and belief, WPS’s graph generator modules generate at least

 one graphical output based upon the received data with the graphical output being generated in

 accordance with the defined data characteristics of the graph styles data.

         210.    Accordingly, WPL has practiced, is practicing, and/or will continue to practice the

 method disclosed in Claim 1.

         211.    Similarly, customers of WPL that use or have used this functionality of the WPS

 software have practiced and/or are practicing the method disclosed in Claim 1. On information

 and belief, Defendants Yum and Pizza Hut have practiced and/or are practicing the method

 disclosed in Claim 1 by utilizing the WPS software.

         212.    WPL is making, using, selling, offering for sale, and/or importing the apparatus

 disclosed in Claim 34 and, thus, has infringed and/or will continue to infringe at least Claim 34 of

 the ’519 Patent. On information and belief, Defendants Yum and Pizza Hut are using the apparatus

 disclosed in Claim 34 and, thus, have infringed and/or will continue to infringe at least Claim 34

 of the ’519 Patent.

                             INFRINGEMENT OF THE ’686 PATENT

         213.    On information and belief, Defendant WPL infringes at least Claim 1 of the ’686

 Patent because it provides software and services, including WPS, which embodies the claims of

 the ’686 Patent in conjunction with the functionality contained in PROC SQL.

         214.    For instance, Claim 1 is directed to a computer-implemented method for handling

 a database statement from a first database system.

         215.    On information and belief, WPS constitutes a first database system and receives a

 first fourth-generation language database statement, wherein the first database statement is

 formatted according to the first database system’s query language format.

         216.    On further information and belief, WPS accesses database functional language


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 difference data, wherein the database functional language difference data indicates a format that

 contains at least one database functional statement difference from the first database system’s

 query language format.

        217.    On further information and belief, WPS generates a second fourth-generation

 language database statement that is used within a second database system, wherein the second

 database statement is generated based upon the first database statement and upon the accessed

 database functional language difference data, wherein the second database statement is compatible

 with the second database system’s query language format.

        218.    On further information and belief, WPS uses a tree representative of the syntax of

 the database language used within the first database system and of metadata associated with the

 first database system to generate the second database statement.

        219.    On further information and belief, the trees used in WPS contain logical pieces

 parsed from the first fourth-generation language database statement.

        220.    On further information and belief, WPS uses a plurality of component software

 objects to textualize the logical pieces contained in the tree, wherein textualizing a logical piece

 includes generating fourth-generation database language text.

        221.    On further information and belief, WPS uses a first component software object

 associated with a first logical piece contained in the tree.

        222.    On further information and belief, WPS uses the first component software object to

 associate with a first method to textualize, into fourth-generation database language text, the first

 component software object’s associated logical piece that is contained in the tree.

        223.    On further information and belief, WPS uses a plurality of software drivers to

 textualize logical pieces into fourth-generation database language text.

        224.    On further information and belief, WPS uses a first software driver to textualize

 through a second method a logical piece into fourth-generation database language text that is

 compatible with the second database system’s query language format.

        225.    On further information and belief, WPS uses a second software driver to textualize


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 through a third method a logical piece into fourth-generation database language text that is

 compatible with a third database system’s query language format.

          226.   On further information and belief, WPS switches association of the first component

 software object from the first method to the second method for fourth-generation database

 language textualization.

          227.   On further information and belief, because of the switching of the association of

 the first component software object, the first component software objects within WPS textualize

 fourth-generation database language text that is compatible with the second database system’s

 query language format and that is not compatible with the first database system’s query language

 format

          228.   Accordingly, WPL has practiced, is practicing, and/or will continue to practice the

 method disclosed in Claim 1.

          229.   Similarly, customers that use or have used the claimed PROC SQL functionality of

 the WPS software have practiced and/or are practicing the method disclosed in Claim 1. On

 information and belief, Defendants Yum and Pizza Hut have practiced and/or are practicing the

 method disclosed in Claim 1 by utilizing the WPS software in the manner claimed.

                            INFRINGEMENT OF THE ’996 PATENT

          230.   On information and belief, Defendant WPL infringes at least Claims 1 and 37 of

 the ’996 Patent because it provides software and services, including WPS, which embodies the

 claims of the ’996 Patent in conjunction with the functionality contained in PROC SQL.

          231.   For instance, Claim 1 is directed to a computer-implemented method for processing

 a query.

          232.   On information and belief, WPS receives a native syntax query requesting data

 stored in a non-native database that uses a non-native syntax, wherein the query is received at an

 application that is separate from the non-native database, wherein the query requests that the data

 be retrieved from the non-native database, wherein the query requests that a processing operation

 be performed on the requested data by the application, wherein the query includes one or more


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 expressions, and wherein one or more of the expressions includes one or more functions.

        233.      On information and belief, WPS parses the native syntax query, wherein parsing

 includes identifying a function within an expression that cannot be processed by the non-native

 database, wherein the function specifies the processing operation to be performed on the requested

 data by the application, wherein a plurality of labels is associated with the function and the

 expression, and wherein labels include constant labels and format labels.

        234.      On information and belief, WPS analyzes the function and the expression to

 determine a context of the function within the expression, wherein the context describes how the

 function is used within the expression.

        235.      On information and belief, WPS generates, using one or more data processors, a

 final expression query by obtaining a control string from an internal table for each of the plurality

 of labels associated with the function and the expression, wherein label modifiers are applied to

 format labels.

        236.      On information and belief, WPS transforms the native syntax query into an

 equivalent non-native syntax query, wherein transforming includes parsing and inserting the final

 expression query into the equivalent non-native syntax query using the function, the expression,

 and the context to translate the function and the expression into multiple functions and multiple

 expressions that are configured for processing by a non-native database system.

        237.      On information and belief, WPS transmits the equivalent non-native syntax query

 to a non-native database system to generate results and to perform the processing operation on the

 generated results.

        238.      On information and belief, WPS receives processed results from the non-native

 database system and transmits the processed results to a client application.

        239.      Claim 37 of the ’996 Patent is directed toward a computer-program product for

 processing a query, tangibly embodied in a machine-readable non-transitory storage medium.

        240.      On information and belief, WPS includes instructions configured to cause a data

 processing apparatus to receive a native syntax query requesting data stored in a non-native


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 database that uses a non-native syntax, wherein the query is received at an application that is

 separate from the non-native database, wherein the query requests that the data be retrieved from

 the non-native database, wherein the query requests that a processing operation be performed on

 the requested data by the application, wherein the query includes one or more expressions, and

 wherein one or more of the expressions includes one or more functions.

        241.    On information and belief, WPS includes instructions configured to cause a data

 processing apparatus to parse the native syntax query, wherein parsing includes identifying a

 function within an expression that cannot be processed by the non-native database, wherein the

 function specifies the processing operation to be performed on the requested data by the

 application, wherein a plurality of labels are associated with the function and the expression, and

 wherein labels include constant labels and format labels.
        242.    On information and belief, WPS includes instructions configured to cause a data

 processing apparatus to analyze the function and the expression to determine a context of the

 function within the expression, wherein the context describes how the function is used within the

 expression.

        243.    On information and belief, WPS includes instructions configured to cause a data

 processing apparatus to generate a final expression query by obtaining a control string from an

 internal table for each of the plurality of labels associated with the function and the expression,

 wherein label modifiers are applied to format labels.

        244.    On information and belief, WPS includes instructions configured to cause a data

 processing apparatus to transform the native syntax query into an equivalent non-native syntax

 query, wherein transforming includes parsing and inserting the final expression query into the

 equivalent non-native syntax query using the function, the expression, and the context to translate

 the function and the expression into multiple functions and multiple expressions that are

 configured for processing by a non-native database system.

        245.    On information and belief, WPS includes instructions configured to cause a data

 processing apparatus to transmit the equivalent non-native syntax query to a non-native database


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 system to generate results and to perform the processing operation on the generated results.

        246.    On information and belief, WPS includes instructions configured to cause a data

 processing apparatus to receive processed results from the non-native database system; and

 transmit the processed results to a client application

        247.    Accordingly, WPL has practiced, is practicing, and/or will continue to practice the

 method disclosed in Claim 1.

        248.    Similarly, customers that use or have used the claimed PROC SQL functionality of

 the WPS software have practiced and/or are practicing the method disclosed in Claim 1. On

 information and belief, Defendants Yum and Pizza Hut have practiced and/or are practicing the

 method disclosed in Claim 1 by utilizing the WPS software.

        249.    WPL is making, using, selling, offering for sale, and/or importing the apparatus

 disclosed in Claim 37 and, thus, has infringed and/or will continue to infringe at least Claim 37 of

 the ’996 Patent. Defendants Yum and Pizza Hut are using the apparatus disclosed in Claim 37

 and, thus, have infringed and/or will continue to infringe at least Claim 37 of the ’996 Patent.

                           INFRINGEMENT OF THE ’458 PATENT

        250.    On information and belief, Defendant WPL infringes at least Claim 61 of the ’458

 Patent because it provides software and services, including WPS, which embodies the claims of

 the ’458 Patent in conjunction with the functionality contained in PROC ASSOCRULES. On

 information and belief, additional infringing WPL software and services include the WPS Hub and

 WPS Workbench.

        251.     For instance, Claim 61 is directed to a model repository system.

        252.    On information and belief, WPS has a data store for storing a plurality of data

 records.

        253.    On information and belief, WPS has a data mining application for analyzing the

 data records and for generating a plurality of data models.

        254.    On information and belief, WPS has a model repository for storing the generated

 data models, wherein the model repository includes one or more index structures containing a


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 plurality of attributes associated with the data models.

        255.    On information and belief, WPS has a model repository facility for exporting the

 generated data models to the model repository.

        256.    On information and belief, WPS has first configuration data store that stores

 information to be used by the model repository facility in exporting the generated data models to

 the model repository.

        257.    On information and belief, WPS has a second configuration data store that stores

 information to be used by the model repository system in building the one or more indexes in the

 model repository.

        258.    WPL is making, using, selling, offering for sale, and/or importing the system

 disclosed in Claim 61 and, thus, has infringed and/or will continue to infringe at least Claim 61 of

 the ’458 Patent. On information and belief, Defendants Yum and Pizza Hut are using the system

 disclosed in Claim 61 and, thus, have infringed and/or will continue to infringe at least Claim 61

 of the ’458 Patent.

                        FIRST CAUSE OF ACTION
       DIRECT COPYRIGHT INFRINGEMENT OF THE SAS SYSTEM AGAINST
                ALL DEFENDANTS UNDER 17 U.S.C. § 101 et seq.
        259.    Plaintiff repeats and incorporates by reference each and every allegation of

 paragraphs 1-258 of this Complaint, as though fully set forth herein.

        260.    The SAS System was created by SAS, and both the code and the non-literal

 elements of the SAS System, including without limitation, the non-literal elements described in

 this Complaint, reflects thousands of creative choices and possesses at least the level of creative

 expression required for copyrightability under United States Copyright Law.

        261.    Defendants have never had and do not have any permission or authorization from

 SAS to reproduce, distribute, display, sell, and/or create derivative works of the SAS System,

 including without limitation its non-literal elements.

        262.    Defendants have gained access to the SAS System and possession of copies of the



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 SAS System through fraudulent and other means as partially described in this Complaint.

        263.     Defendants are knowingly, unlawfully, and willfully reproducing, distributing,

 displaying, selling, and/or creating derivative works of the SAS System without SAS’s

 authorization or permission.

        264.     As a direct and proximate result of Defendants’ infringement of the SAS System,

 SAS has suffered and is suffering irreparable harm and damage.

        265.     As a direct and proximate result of Defendants’ infringement of the SAS System,

 SAS has lost substantial revenue.

        266.     As a direct and proximate result of Defendants’ infringement of the SAS System,

 Defendants have unlawfully gained substantial profits, including through increased revenues and

 cost savings.

        267.     Defendants’ unlawful copyright infringement has been willful as defined by the

 United States Copyright Act.

        268.     Barring an injunction, SAS will continue to suffer immense and irreparable harm

 and damage.

                       SECOND CAUSE OF ACTION
      DIRECT COPYRIGHT INFRINGEMENT OF THE SAS MANUALS AGAINST
                   ALL DEFENDANTS 17 U.S.C. § 101 et seq.
        269.     Plaintiff repeats and incorporates by reference each and every allegation of

 paragraphs 1-268 of this Complaint, as though fully set forth herein.

        270.     The SAS Manuals were created by SAS, and possess at least the level of creative

 expression required for copyrightability under United States Copyright Law.

        271.     Defendants have never had and do not have any permission or authorization from

 SAS to reproduce, distribute, display, sell, and/or create derivative works of the SAS Manuals.

        272.     Defendants have gained access to the SAS Manuals and possession of copies of the

 SAS Manuals through improper means as partially described in this Complaint.

        273.     Defendants are knowingly, unlawfully, and willfully reproducing, distributing,



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 displaying, selling, and/or creating derivative works of the SAS Manuals without SAS’s

 authorization or permission, as the language, PROC statements, SSO and output design reflected

 in the SAS Manuals have been incorporated into the infringing WPS product.

        274.     As a direct and proximate result of Defendants’ infringement of the SAS Manuals,

 SAS has suffered and is suffering irreparable harm and damage.

        275.     As a direct and proximate result of Defendants’ infringement of the SAS Manuals,

 SAS has lost substantial revenue.

        276.     As a direct and proximate result of Defendants’ infringement of the SAS Manuals,

 Defendants have unlawfully gained substantial profits, including through increased revenues and

 cost savings.

        277.     Defendants’ unlawful copyright infringement has been willful as defined by the

 United States Copyright Act.

        278.     Barring an injunction, SAS will continue to suffer immense and irreparable harm

 and damage.
                     THIRD CAUSE OF ACTION
  CONTRIBUTORY COPYRIGHT INFRINGEMENT OF THE SAS SYSTEM AND SAS
            MANUALS AGAINST WPL AND LUMINEX UNDER
                        17 U.S.C. § 101 et seq.
        279.     Plaintiff repeats and incorporates by reference each and every allegation of

 paragraphs 1-278 of this Complaint, as though fully set forth herein.

        280.     WPL, with knowledge of the infringing activity of Luminex and the Customer

 Defendants, as well as of third-party infringing customers, has induced, caused and/or materially

 contributed to the acts of those other Defendants and third-parties in infringing upon the SAS

 System and SAS Manuals.

        281.     WPL has provided copies of the infringing clone of the SAS System to Luminex

 with full knowledge that it is reproducing, distributing, displaying, selling, and/or creating

 derivative works of the SAS System and SAS Manuals in violation of SAS’s copyright rights.

        282.     WPL has provided copies of the infringing clone of the SAS System to the



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 Customer Defendants as well as third-party customers, with full knowledge that the Customer

 Defendants and the third-party customers are running the infringing software on their servers and

 further reproducing, distributing, displaying, selling, and/or creating derivative works of the SAS

 System and SAS Manuals in violation of SAS’s copyright rights.

        283.    Luminex has provided copies of the infringing clone of the SAS System to their

 third-party customers, with full knowledge that the third-party customers are running the infringing

 software on their servers and further reproducing, distributing, displaying, selling, and/or creating

 derivative works of the SAS System and SAS Manuals in violation of SAS’s copyright rights.

        284.    WPL and Luminex have knowingly, unlawfully, and willfully taken their

 contributorily infringing actions without SAS’s authorization or permission.

        285.    As a direct and proximate result of WPL’s and Luminex’s contributory

 infringement of the SAS System and SAS Manuals, SAS has suffered and is suffering irreparable

 harm and damage.

        286.    As a direct and proximate result of WPL’s and Luminex’s contributory

 infringement of the SAS System and SAS Manuals, SAS has lost substantial revenue.

        287.    As a direct and proximate result of WPL’s and Luminex’s contributory

 infringement of the SAS System and SAS Manuals, Defendants have unlawfully gained substantial

 profits, including through increased revenues and cost savings.

        288.    WPL’s and Luminex’s unlawful contributory infringement has been willful as

 defined by the United States Copyright Act.

        289.    Barring an injunction, SAS will continue to suffer immense and irreparable harm

 and damage.

                      FOURTH CAUSE OF ACTION
     VICARIOUS COPYRIGHT INFRINGEMENT OF THE SAS SYSTEM AND SAS
       MANUALS AGAINST WPL AND LUMINEX UNDER 17 U.S.C. § 101 et seq.
        290.    Plaintiff repeats and incorporate by reference each and every allegation of

 paragraphs 1-282 of this Complaint, as though fully set forth herein.



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        291.    WPL has the right and ability to control the infringing actions of Luminex and the

 Customer Defendants, as well as of third-party infringing customers, including without limitation

 the ability to withhold the infringing software from the Re-Seller Defendants, Customer

 Defendants, and their third-party infringing customers.

        292.    Luminex has the right and ability to control the infringing actions of their third-

 party infringing customers, including without limitation the ability to withhold the infringing

 software from their third-party infringing customers.

        293.    WPL receives a substantial direct financial benefit from and has a direct and

 obvious financial interest in the infringement of the SAS System and SAS Manuals by Luminex,

 and the Customer Defendants, as well as by third-party infringing customers, each of who pays

 WPL for access to and copies of the infringing software.

        294.    Luminex receives a substantial direct financial benefit from and has a direct and

 obvious financial interest in the infringement of the SAS System and SAS Manuals by its third-

 party infringing customers, each of whom pays Luminex for access to and copies of the infringing

 software.

        295.    WPL and Luminex have knowingly, unlawfully, and willfully taken their

 vicariously infringing actions without SAS’s authorization or permission.

        296.    As a direct and proximate result of WPL’s and Luminex’s vicarious infringement

 of the SAS System and SAS Manuals, SAS has suffered and is suffering irreparable harm and

 damage.

        297.    As a direct and proximate result of WPL’s and Luminex’s vicarious infringement

 of the SAS System and SAS Manuals, SAS has lost substantial revenue.

        298.    As a direct and proximate result of WPL’s and Luminex’s vicarious infringement

 of the SAS System and SAS Manuals, Defendants have unlawfully gained substantial profits,

 including through increased revenues and cost savings.

        299.    WPL’s and Luminex’s unlawful vicarious infringement has been willful as defined

 by the United States Copyright Act.


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        300.    Barring an injunction, SAS will continue to suffer immense and irreparable harm

 and damage.

                              FIFTH CAUSE OF ACTION
                      INFRINGEMENT OF U.S. PATENT NO. 7,170,519
        301.    Plaintiff repeats and incorporates by reference each and every allegation of

 paragraphs 1-300 of this Complaint, as though fully set forth herein.

        302.    SAS is the sole owner of the entire right, title, and interest in and to the ’519 Patent,

 including the right to sue and recover for any and all infringements thereof.

        303.    On information and belief, since at least the filing of this Complaint, Defendant

 WPL, without authorization or license from SAS, has been and is presently, indirectly infringing

 at least claim 1 of the ’519 Patent, including actively inducing infringement of the ’519 Patent

 under 35 U.S.C. § 271(b). Such inducements include, without limitation, with specific intent to

 encourage infringement, knowingly inducing customers to use directly infringing articles and

 methods that WPL knew or should know infringe one or more claims of the ’519 Patent. WPL

 instruct its customers how to use the patented inventions of the ’519 Patent by operating WPS in

 accordance with its specifications. On information and belief, WPL also informs its customers to

 use SAS manuals and instructions which inform WPL customers how to use the patented

 inventions of the ‘519 Patent. WPL specifically intends its customers directly infringe by

 implementing a computer-implemented method for generating graphical displays in an infringing

 manner as set forth above.

        304.    On information and belief, customers of WPL, including Defendants Yum and

 Pizza Hut, have been and are presently directly infringing, either literally or through the doctrine

 of equivalents, at least claim 1 of the ’519 Patent, as infringement is defined by 35 U.S.C. § 271(a),

 including through the making, using, selling and offering for sale methods and articles infringing

 one or more claims of the ’519 Patent. On information and belief, such infringements include,

 without limitation, the use of WPS and the methods included therein that generates graphical

 displays in an infringing manner.


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        305.    On information and belief, Defendants WPL, Yum, and Pizza Hut, without

 authorization or license from SAS, have been and are presently directly infringing, either literally

 or through the doctrine of equivalents, at least Claim 34 of the ’519 Patent, as infringement is

 defined by 35 U.S.C. § 271(a), including through the making, using, selling, offering for sale, and

 importing methods and articles (WPS) infringing one or more claims of the ’519 Patent.

 Defendants are thus liable for direct infringement of at least Claim 34 the ’519 Patent pursuant to

 35 U.S.C. § 271(a). On information and belief, such infringements include, without limitation, the

 making, using, selling, offering for sale, and/or importing WPS.

        306.    As a result of the direct and indirect infringement of the ’519 Patent, Plaintiff has

 suffered monetary damages, and is entitled to an award of damages adequate to compensate it for

 such infringement under 35 U.S.C. § 284, but in no event less than a reasonable royalty.

        307.    On information and belief, Defendant WPL had actual notice of the ’519 Patent and

 knew, or should have known, that its activities and the activities of the other Defendants described

 above infringe the ’519 Patent directly or indirectly. Alternatively, WPL’s actions (and inactions)

 in developing a clone to the SAS System and selling its WPL software directly to SAS customers

 constitutes willful blindness sufficient to convey actual knowledge of the ’519 Patent and its

 customer’s infringement of the ’519 Patent. WPL has nonetheless continued to engage in its

 infringing acts. Accordingly, WPL’s infringement is willful and deliberate, and this case is

 exceptional under 35 U.S.C. § 285.

                              SIXTH CAUSE OF ACTION
                      INFRINGEMENT OF U.S. PATENT NO. 7,477,686
        308.    Plaintiff repeats and incorporates by reference each and every allegation of

 paragraphs 1-307 of this Complaint, as though fully set forth herein.

        309.    SAS is the sole owner of the entire right, title, and interest in and to the ’686 Patent,

 including the right to sue and recover for any and all infringements thereof.

        310.    On information and belief, since at least the filing of this Complaint, Defendant

 WPL, without authorization or license from SAS, has been and is presently, indirectly infringing


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 at least claim 1 of the ’686 Patent, including actively inducing infringement of the ’686 Patent

 under 35 U.S.C. § 271(b). Such inducements include, without limitation, with specific intent to

 encourage infringement, knowingly inducing customers to use infringing articles and methods that

 WPL knew or should know infringe one or more claims of the ’686 Patent. WPL instructs its

 customers how to use the patented inventions of the ’686 Patent by operating WPS in accordance

 with its specifications. On information and belief, WPL also informs its customers to use SAS

 manuals and instructions which inform WPL customers how to use the patented inventions of the

 ’519 Patent. WPL specifically intends its customers infringe by implementing a computer-

 implemented method for handling a database statement in an infringing manner as set forth above.

         311.    On information and belief, customers of WPL, including Defendants Yum and

 Pizza Hut, without authorization or license from SAS, have been and are presently directly

 infringing, either literally or through the doctrine of equivalents, at least claim 1 of the ’686 Patent,

 as infringement is defined by 35 U.S.C. § 271(a), including through the making, using, selling,

 offering for sale, and/or importing methods and articles infringing one or more claims of the ’686

 Patent. On information and belief, such infringements include, without limitation, the use of WPS

 and its PROC SQL functionality for handling a database statement in an infringing manner.

         312.    As a result of the direct and indirect infringement of the ’686 Patent, Plaintiff has

 suffered monetary damages, and is entitled to an award of damages adequate to compensate it for

 such infringement under 35 U.S.C. § 284, but in no event less than a reasonable royalty.

         313.    On information and belief, Defendant WPL had actual notice of the ’686 Patent and

 knew, or should have known, that its activities and the activities of the other Defendants described

 above infringe the ’686 Patent directly or indirectly. Alternatively, WPL’s actions (and inactions)

 in developing a clone to the SAS System and selling its WPL software directly to SAS customers

 constitutes willful blindness sufficient to convey actual knowledge of the ’686 Patent and its

 customer’s infringement of the ’686 Patent. WPL has nonetheless continued to engage in its

 infringing acts. Accordingly, WPL’s infringement is willful and deliberate, and this case is

 exceptional under 35 U.S.C. § 285.


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                              SEVENTH CAUSE OF ACTION
                       INFRINGEMENT OF U.S. PATENT NO. 8,498,996
         314.    Plaintiff repeats and incorporates by reference each and every allegation of

 paragraphs 1-313 of this Complaint, as though fully set forth herein.

         315.    SAS is the sole owner of the entire right, title, and interest in and to the ’996 Patent,

 including the right to sue and recover for any and all infringements thereof.

         316.    On information and belief, since at least the filing of this Complaint, Defendant

 WPL, without authorization or license from SAS, has been and is presently, indirectly infringing

 at least claim 1 of the ’996 Patent, including actively inducing infringement of the ’996 Patent

 under 35 U.S.C. § 271(b). Such inducements include, without limitation, with specific intent to

 encourage infringement, knowingly inducing customers to use infringing articles and methods that

 WPL knew or should know infringe one or more claims of the ’996 Patent. WPL instructs its

 customers how to use the patented inventions of the ’996 Patent by operating WPS in accordance

 with its specifications. On information and belief, WPL also informs its customers to use SAS

 manuals and instructions which inform WPL customers how to use the patented inventions of the

 ‘519 Patent. WPL specifically intends its customers infringe by implementing a computer-

 implemented method for processing a query in an infringing manner as set forth above.

         317.    On information and belief, customers of WPL, including Defendants Yum and

 Pizza Hut, without authorization or license from SAS, have been and are presently directly

 infringing, either literally or through the doctrine of equivalents, at least claim 1 of the ’996 Patent,

 as infringement is defined by 35 U.S.C. § 271(a), including through the making, using, selling,

 offering for sale, and/or importing methods and articles infringing one or more claims of the ’996

 Patent. On information and belief, such infringements include, without limitation, the use of WPS

 and its PROC SQL functionality that processes a query in an infringing manner.

         318.    On information and belief, Defendants WPL, Yum, and Pizza Hut, without

 authorization or license from SAS, have been and are presently directly infringing, either literally

 or through the doctrine of equivalents, at least Claim 37 of the ’996 Patent, as infringement is



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 defined by 35 U.S.C. § 271(a), including through the making, using, selling, offering for sale,

 and/or importing methods and articles (WPS) infringing one or more claims of the ’996 Patent.

 Defendants are thus liable for direct infringement of at least Claim 37 the ’996 Patent pursuant to

 35 U.S.C. § 271(a). On information and belief, such infringements include, without limitation, the

 making, using, selling, offering for sale, and/or importing WPS.

        319.    As a result of the direct and indirect infringement of the ’996 Patent, Plaintiff has

 suffered monetary damages, and is entitled to an award of damages adequate to compensate it for

 such infringement under 35 U.S.C. § 284, but in no event less than a reasonable royalty.

        320.    On information and belief, Defendant WPL had actual notice of the ’996 Patent and

 knew, or should have known, that its activities and the activities of the other Defendants described

 above infringe the ’996 Patent directly or indirectly. Alternatively, WPL’s actions (and inactions)

 in developing a clone to the SAS System and selling its WPL software directly to SAS customers

 constitutes willful blindness sufficient to convey actual knowledge of the ’996 Patent and its

 customer’s infringement of the ’996 Patent. WPL has nonetheless continued to engage in its

 infringing acts. Accordingly, WPL’s infringement is willful and deliberate, and this case is

 exceptional under 35 U.S.C. § 285.

                             EIGHTH CAUSE OF ACTION
                      INFRINGEMENT OF U.S. PATENT NO. 6,920,458
        321.    Plaintiff repeats and incorporates by reference each and every allegation of

 paragraphs 1-320 of this Complaint, as though fully set forth herein.

        322.    SAS is the sole owner of the entire right, title, and interest in and to the ’458 Patent,

 including the right to sue and recover for any and all infringements thereof.

        323.    On information and belief, since at least the filing of this Complaint, Defendant

 WPL, without authorization or license from SAS, has been and is presently, indirectly infringing

 at least claim 61 of the ’458 Patent, including actively inducing infringement of the ’458 Patent

 under 35 U.S.C. § 271(b). Such inducements include, without limitation, with specific intent to

 encourage infringement, knowingly inducing customers to use infringing articles and methods that


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 WPL knew or should know infringe one or more claims of the ’458 Patent. WPL instructs its

 customers how to use the patented inventions of the ’458 Patent by operating WPS in accordance

 with its specifications.   WPL specifically intends its customers infringe by using a model

 repository system as set forth above.

        324.    On information and belief, Defendants WPL, Yum, and Pizza Hut, without

 authorization or license from SAS, have been and are presently directly infringing, either literally

 or through the doctrine of equivalents, at least claim 61 of the ’458 Patent, as infringement is

 defined by 35 U.S.C. § 271(a), including through the making, using, selling, offering for sale,

 and/or importing methods and articles infringing one or more claims of the ’458 Patent. On

 information and belief, such infringements include, without limitation, the importation and/or use

 of WPS and its PROC ASSOCRULES functionality, as well as the WPS Hub and WPS

 Workbench products.

        325.    As a result of the direct and indirect infringement of the ’458 Patent, Plaintiff has

 suffered monetary damages, and is entitled to an award of damages adequate to compensate it for

 such infringement under 35 U.S.C. § 284, but in no event less than a reasonable royalty.

        326.    On information and belief, Defendant WPL had actual notice of the ’458 Patent and

 knew, or should have known, that its activities and the activities of the other Defendants described

 above infringe the ’458 Patent directly or indirectly. Alternatively, WPL’s actions (and inactions)

 in developing a clone to the SAS System and selling its WPL software directly to SAS customers

 constitutes willful blindness sufficient to convey actual knowledge of the ’458 Patent and its

 customer’s infringement of the ’458 Patent. WPL has nonetheless continued to engage in its

 infringing acts. Accordingly, WPL’s infringement is willful and deliberate, and this case is

 exceptional under 35 U.S.C. § 285.

                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff SAS respectfully requests that the Court enter judgment as follows:

        A.      Adjudging and decreeing that Defendants have directly infringed the copyrights in

 the SAS System;


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        B.      Adjudging and decreeing that Defendants have directly infringed the copyrights in

 the SAS Manuals;

        C.      Adjudging and decreeing that WPL and Luminex have contributorily infringed the

 copyrights in the SAS System and the SAS Manuals;

        D.      Adjudging and decreeing that WPL and Luminex have vicariously infringed the

 copyrights in the SAS System and the SAS Manuals;

        E.      Adjudging and decreeing that Defendants’ copyright infringements are willful;

        F.      Ordering that Defendants pay SAS’s actual damages, including a disgorgement of

 all Defendant’s profits related to and/or attributable to the copyright infringement, or alternatively,

 at SAS’s option, that Defendants be ordered to pay statutory damages under the United States

 Copyright Act;

        G.      Ordering that Defendants pay SAS’s costs and attorneys’ fees under the United

 States Copyright Act;

        H.      Adjudging and decreeing that WPL, Yum, and Pizza Hut have directly or indirectly

 infringed one or more claims of the ’519 Patent;

        I.      Adjudging and decreeing that WPL, Yum, and Pizza Hut have directly or indirectly

 infringed one or more claims of the ’686 Patent;

        J.      Adjudging and decreeing that WPL, Yum, and Pizza Hut have directly or indirectly

 infringed one or more claims of the ’996 Patent;

        K.      Adjudging and decreeing that WPL, Yum, and Pizza Hut have directly or indirectly

 infringed one or more claims of the ’458 Patent;

        L.      Ordering that WPL, Yum, and Pizza Hut pay SAS any damages SAS has suffered

 arising out of and/or as a result of their patent infringement, including SAS’ lost profits, and in any

 event no less than a reasonable royalty for Defendants’ infringement, and any other relief provided

 for in 35 U.S.C. § 284;

        M.      Adjudging and decreeing that WPL’s infringement of the Patents-in-Suit is

 deliberate and willful and that WPL be ordered to pay treble damages under 35 U.S.C. § 284;


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        N.      Ordering that this is an exceptional case under 35 U.S.C. § 285 and that SAS be

 awarded its attorneys’ fees, costs, and expenses;

        O.      Permanently enjoining Defendants and their corresponding officers, agents,

 servants, employees, attorneys, affiliates, divisions, subsidiaries, and all persons in active concert

 or participation with any of them, from infringing the Patents-in-Suit and the copyrights in the

 SAS System and the SAS Manuals, and/or contributing or inducing anyone to do the same;

        P.      Ordering that all infringing copies of Defendants’ software be impounded and

 destroyed, and any copies sold to third-parties be recalled and then destroyed at Defendants’

 expense;

        Q.      Awarding SAS pre- and post-judgment interest on all monetary awards; and

        R.      Awarding such other and further relief as the Court may deem just and proper.

                                          JURY DEMAND

        Plaintiff hereby demands a jury trial on all issues so triable.




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  Dated: August 2, 2019                 Respectfully submitted,

                                        /s/ Jason W. Cook
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                               CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing document was served on counsel for

 Defendants via the Court’s CM/ECF System on August 2, 2019.

                                            /s/ Jason W. Cook                            .
                                            Jason W. Cook




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